      Case 2:07-cr-02066-LRS    ECF No. 397   filed 10/22/14   PageID.1488 Page 1 of 3




1

2

3

4
                               UNITED STATES DISTRICT COURT
5
                               EASTERN DISTRICT OF WASHINGTON
6
     UNITED STATES OF AMERICA,                  )
7                                               )    NOS. CR-07-2063-LRS-1
                               Respondent,      )         CR-07-2065-LRS-1
8                                               )         CR-07-2066-LRS-2
              -vs-                              )         CR-07-2114-LRS-1
9                                               )
     GLEN RAY BRIGGS,                           ) ORDER DENYING MOTIONS FOR
10                                              ) RECONSIDERATION
                               Petitioner.      )
11                                              )

12
          BEFORE THE COURT is Petitioner's handwritten letters filed1 in four
13
     above-identified cases (ECF Nos. 513, 514 in CR-07-2063-LRS-1; ECF No.
14
     216 in CR-07-2065-LRS-1; ECF No. 393 in CR-07-2066-LRS-2; and ECF No. 422
15
     in CR-07-2114-LRS-1) on September 3, 2014, and September 30, 2014, which
16
     letters this court construes to be motions for reconsideration of this
17
     court’s “Order Dismissing 28 U.S.C. §2255 Motions,” entered on August 22,
18
     2014. The motions are submitted by Glen Ray Briggs, who is appearing pro
19
     se for the purposes of these proceedings. Petitioner also again requests
20
     counsel to be appointed.         Petitioner did not note the instant motion
21
     pursuant to local rules.
22
          To the extend Petitioner is requesting a motion for reconsideration,
23

24
          1
           The court filed Mr. Briggs’ first letter in all four cases for
25   which the “Order Dismissing 28 U.S.C. §2255 Motions” was entered in and
     filed the second letter in CR-07-2063-LRS-1 based on the contents of the
26   letter referring to that case only.


     ORDER - 1
      Case 2:07-cr-02066-LRS   ECF No. 397   filed 10/22/14   PageID.1489 Page 2 of 3




1    the court notes that such motions for reconsideration serve a limited

2    function.     Under the Federal Rules of Civil Procedure, motions for

3    reconsideration may be made pursuant to Rule 59(e).                The major grounds

4    for granting a motion to reconsider a judgment are: (1) intervening

5    change of controlling law; (2) availability of new evidence; and (3) the

6    need to correct clear error or prevent manifest injustice. School

7    District No. 1J, Multnomah County Oregon v. AcandS, Inc., 5 F.3d 1255,

8    1263 (9th Cir.1993); Duarte v. Bardales, 526 F.3d 563, 567 (9th Cir.
9    2008).    Mr. Briggs does not contend that there is newly discovered

10   evidence or that controlling law has changed.                   Instead Mr. Briggs

11   continues to re-argue, for identical reasons voiced in his §2255 motion,

12   that his attorney Mr. Gardner deprived him of his constitutional right

13   to effective assistance of counsel. Mr. Briggs restates that he would not

14   have pleaded guilty if his attorney had not misadvised, misled and

15   misrepresented that he “would be able to go for sentence intrapment

16   [sic].”   ECF No. 393 at 1.

17         A motion for reconsideration is not appropriately brought to present

18   arguments already considered by the court.               Backlund v. Barnhart, 778

19   F.2d 1386, 1388 (9th Cir.1985). For all the foregoing reasons, the court

20   respectfully denies Petitioner's motions for reconsideration.

21         Mr. Briggs also inquires in his September 30th letter whether he can

22   be   resentenced   or     provided   relief     presumably      through   retroactive

23   application   of   the    United   States   Sentencing      Commission's    amendment

24   reducing the offense levels in the Drug Quantity Table by two levels. ECF

25   No. 514 at 2.      At this time, relief pursuant to 18 U.S.C. § 3582 is

26   deemed not ripe for consideration.          In so noting, the Court expresses no


     ORDER - 2
      Case 2:07-cr-02066-LRS   ECF No. 397   filed 10/22/14   PageID.1490 Page 3 of 3




1    opinion concerning the amendment or whether it has any application to Mr.

2    Briggs’ convictions.      Accordingly,

3         IT IS ORDERED that:

4         1. Mr. Briggs’ motions for reconsideration, ECF Nos. 513, 514 in

5    CR-07-2063-LRS-1; ECF No. 216 in CR-07-2065-LRS-1; ECF No. 393 in

6    CR-07-2066-LRS-2; and ECF No. 422 in CR-07-2114-LRS-1), are DENIED.

7         2.   The District Court Executive is directed to:

8              (a) File this Order; and
9              (b) Provide a copy to Petitioner AND TO the United States

10   Attorney, Yakima, Washington.

11        DATED this 22nd day of October, 2014.

12
                                                         s/Lonny R. Suko
13
                                                        LONNY R. SUKO
14                                           SENIOR UNITED STATES DISTRICT JUDGE

15

16

17

18

19

20

21

22

23

24

25

26


     ORDER - 3
